   Case: 1:18-cv-07686 Document #: 896 Filed: 12/21/20 Page 1 of 2 PageID #:8425




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
 In re: Lion Air Flight JT 610 Crash

                                                        Lead Case: 1:18-cv-07686

                                                        Honorable Thomas M. Durkin

                                                        This filing applies to
                                                        Case No. 1:19-cv-05842


                                       NOTICE OF FILING

           Plaintiff, MULTI RIZKI, as surviving heir and representative of the heirs of Rijal

Mahdi, deceased, by and through Plaintiff’s undersigned counsel, has caused to be filed the

attached sealed Exhibit A for the Court’s review and consideration as requested by the Court.

Dated: December 21, 2020                           Respectfully submitted,


                                                                 /s/Alexandra M. Wisner
                                                              Attorney For Plaintiffs

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   Case: 1:18-cv-07686 Document #: 896 Filed: 12/21/20 Page 2 of 2 PageID #:8426




                                CERTIFICATE OF SERVICE
      Alexandra M. Wisner, an attorney, certifies that she served Plaintiff Multi Rizki’s Notice of
Filing all counsel of record via CM/ECF on December 21, 2020.


                                                                  /s/Alexandra M. Wisner




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